
Nott, J.
I am of opinion, that it was not necessary that her hand.writing should have been proved.
This is not an action brought by one party to a contract against another, to compel a performance of that contract; but it is brought by persons in whom the property has vested by a contract executed against third persons, who are strangers to the transaction. The legal right is in the trustees. They derived it from John Heard, •and not from Jane Bernard. The object of her signature was *413«merely to signify her assent.to the contract. It conveyed no property, because she had none. That the contract has been carried into effect on her part, is-presumed from suing by the name of Jane Heard. And even if it did not, it does not lie in the mouths of the - i t ^ defendants to make the objection ; . unless they are creditors, and come in on the ground of fraud ; which cannot appear to the court, .at this stage of the cause. The motion ought to be granted.
Brevard, Colcock, and Bax, Js., concurred.
